                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,                      Case No. ____________________________
                                                Possession With Intent to Distribute
                              Plaintiff,        Methamphetamine
                                                21 U.S.C. §§ 841(a)(1) and (b)(1)(A)
        v.                                      NLT 10 Years Imprisonment
                                                NMT Life Imprisonment
 PRESTON L. GILLAM,                             NMT $10,000,000 Fine
 [DOB: 08/21/1975]                              NLT 5 Years Supervised Release
                                                Class A Felony
                              Defendant.        $100 Mandatory Special Assessment

                                     INDICTMENT

       THE GRAND JURY CHARGES THAT:

       On or about October 1, 2017, in the Western District of Missouri, the defendant, PRESTON

L. GILLAM, did knowingly and intentionally possess with intent to distribute five hundred (500)

grams or more of a mixture and substance containing methamphetamine, a Schedule II controlled

substance, contrary to the provisions of Title 21, United States Code, Sections 841(a)(1) and

(b)(1)(A).

                                                   A TRUE BILL.


       10/25/17                                         /s/ Carla F. Eye
DATE                                               FOREPERSON OF THE GRAND JURY


/s/ Jeffrey Q. McCarther
Jeffrey Q. McCarther
Assistant United States Attorney
Narcotics & Violent Crimes Unit
Western District of Missouri
